
Appeal No. 4382 from Judgment dated June 24, 1992, Marcus D. Gordon, Ruling Judge, Scott County Circuit Court.
Hez L. Hollingsworth, Thompson &amp; Holl-ingsworth, Forest, for appellant.
Michael C. Moore, Attorney General, Jackson, DeWitt T. Allred, III, Sp. Ass’t Attorney General, Jackson, for appellee.
Before THOMAS, P.J., McMILLIN and SOUTHWICK, JJ.
Affirmed.
FRAISER, C.J., BRIDGES, P.J., BARBER, COLEMAN, DIAZ, KING and PAYNE, JJ., concur.
